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                                                                                                                                                                                                                      Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com : Badge Reel Retractable with Alligator Clip Pink Smiley Face Leopard Emoji Badge Holder Funny Cute Nurse Name Badge Scroll for RN CNA Nursing Doctor Office Worker Teacher Student : Office Products

   URL
   https://www.amazon.com/Retractable-Alligator-Leopard-Nursing-Teacher/dp/B0BVR1Y9ZN/ref=sr_1_12

   Collection Date
   Wed, 26 Apr 2023 08:11:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   g4fp5nZUYYdR5kfrNS1UxSH17yE0/zfRIJMA42lRw8Ikb52Bvg6R9HHxNiAekoOY/yYxdmIu78f4MwdyeO5ShQULN2wLZqayhRvC28uSxPK49lH76IMTpooyG7gDIt7Wh9pfZSiqKQLgKrt1ITnRRBqPGaNUS/PcDPPPuEy8LGY=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Retractable-Alligator-Leopard-Nursing-Teacher[fs]dp[fs]B0BVR1Y9ZN[fs]ref=sr_1_12]]_Wed,-26-Apr-2023-08-11-53-GMT.pdf

   Hash (SHA256)
   c930b767133e4f7e0fb4b749175130fd32b69cfe9afc535c69495dd0853106f6

   Signature (PKCS#1v1.5)
PJSwgsKmrwrsJ6XQ0YuquPARK/P5iLBYRSO++8p/8p6LxeLaqppbKVCUxO3q/UAVIqu/JgthnkJ8DUuhi9YHpPT7w+IynFr2NfjfLlk0M1vbbae6FkeRRw2J1A8lB6JqeNvHpW7Gu0CZEBD+FGBuE3BrSZw/ntfUG0E3hHHxR8w=
                                                                                  Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 2 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 07:39:40 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   ZaxiDeR3eE4WAyy87NrLVoMRtdu8xE7N7V416kiALiCKFXGwUErK8eeTmQcVW7k8dP/GT6xiZ0WK7W6zDFrRKooXhBA9WgWV0WIQfBeHlSVA6/n7j6X69jk3yEbfKMsyoW5z+XSipv2gUjZDbuCqNOOnnXGNJkPxVQuXXHanj8vpgUH+9cGYxMIlIX+s2PhgnyL9pGbaLr54HjA
   +PZyPocL1PkJC7OWBqQxwpF62oJt8g6Zz667a/C0bT3+5eAlQV8OpdNnRehtabjOZnEgiWf51HhHkuYQxH5qstZDLZrSKveUiJHksd+mJbIv8ZidU6rk8Xwj6JCgNGCPavs+k9g==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-07-39-40-GMT.mhtml

   Hash (SHA256)
   bd29c9b5e6df0ff683a98e9da9df82a1c414285bb2c6d962aadb09368f5fff38

   Signature (PKCS#1v1.5)
U+E8oPlLAjai5sPdDxl7CBoIX9n3hvdsYxNFSjG7XwSEC50xNBki9uA/
uxNWj190sDbwWJEw1EnXZybqEeHJ8BJj4jbMBz1ds5j6tBk2kPNhP2Xsbnys4jM3NwsQRx5xyoqT0AMg5eAOFxushuZgqEBG6AdanUMiaL6C9yOvcYYzOfVTjmRsQzkMv9FHdAnrN9j3FYo2BMkNW9o6MZ16mKi7S1cadvuWiPz7yoDtgKArq1gvCRp3aL
+j7oLSXP9C3KF2yOVdtn99+szURc1vwr8VUy7uDRPJW5prSUlswh3+4Emmns/yVentf25D1xWzFSk5Z8b8VD1QvanvhWaPMQ==
                                                                                 Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 3 of 40



                                                                                                                                                                                                                 Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: THYUNQ Smiley Face Bed Sheets Full Size, Cute Smile Face Bedding Sheets & Pillowcases 4 Piece, Super Soft Microfiber Patterned Sheet Set with 16 Inch Deep Pocket Fitted Sheet : Home & Kitchen

   URL
   https://www.amazon.com/THYUNQ-Bedding-Pillowcases-Microfiber-Patterned/dp/B0BNBR3M7W/ref=sr_1_293

   Collection Date
   Tue, 09 May 2023 10:00:38 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   S+wiHl6i3T8WCCDeAzytKMOATutdReKTVS5cGdHDwbo/SdpVI1tm1pNFiknXVVyhaKFQvOO2r0TwOR93faqwA+kO58vKfmMJuUT28tdMm/WJb71UDWv5Y8dVGAJmI+POeuam77CtZAulafrWbZU75HtPoWmiDatAe0PlYFTj23w=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]THYUNQ-Bedding-Pillowcases-Microfiber-Patterned[fs]dp[fs]B0BNBR3M7W[fs]ref=sr_1_293]]_Tue,-09-May-2023-10-00-38-GMT.pdf

   Hash (SHA256)
   485358452f60d53934a73e9a2ae00799fac407a890b558307332eca9dd65bb21

   Signature (PKCS#1v1.5)
pAWrTQMfUHJ5lBQjIaHbckKXyurgacaoqGMidolJ/NiRytg/5p9Q3CHn2Os17MP6deH4luLR3ZkViP9bloT3jYlDqMurn4jUE8UUjS5dWrFGOfjNZ/OiP9L8Veb7PiA4HeADlqN6GwtrT1HNs2gTDpnpgEi3AR9mZgwSSFxXko0=
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 4 of 40



                                                                                                                                                                                                             Investigator Name: RemoteUser2




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 15 May 2023 07:48:07 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   RemoteUser2

   IP Address
   116.68.99.108

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GUqUJuF+gxD/ZJn/hKzZy3PBJYHqPrCL4lyQq3QkW7aWEPEbbiNpLjsZ9+D0zUe+M0lgl4AXLK9rp1iXRM+bL++uSg8g/NDRrZDRspXVJfCYeu84TWkfmbQTemJrY4n30sqverZMKJLHqsZ49Zf5CV0MlPhmHTkoxUpPOKX/LVnGfRWe+zRGA1giTf/
   qXZz4KNYFXC2o3GfMjEzgAzPATqSuifbjqNhZh6nZeHnXzkseuiF8tP6Od9EKZI/DV3MyBoyxiW36DUNKPaUZ4moCgBP1KE/b4D5ovcNiXK6SPL6AGXMRj1OHjHQ14SE8WibPa2Hn4/bIs/j2UMx6WM4EAg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-15-May-2023-07-48-07-GMT.mhtml

   Hash (SHA256)
   c4f70b2c9183d91bd4e678061ff4ca8d6b64cb8077626b3df4a6d63f245e1bd2

   Signature (PKCS#1v1.5)
fGufcaociWZgL2pahoe6h2btlFCZHOZMyAAgUcLv83K/EnSqIQ5QebZ6H0ui9nuHbdjDVxr9Q1CfJYdrwcanxdcga+h466Xr6sxYkYvbWjxN6wmwIOd9HuBozIyQcATOajaWCpUaEnLPa73qN80ilV+WB8k4OkD9OEWeijTBBKV4ZABzQSesTfhTSHFlOBSPZ6Zbs73eBlraRpeNwtadDDdaPsp+BdgFH
+JZXZQoKrpdaNANM5+R0aFPKO+0JTwWMipUkyBWiQlUgX3ih41VG6+QSfFt3/0CL9bwJQMhKVHTgcqmq0451DZGYBL4/EOkcCwCucJTQkK2otIJ4wwQ/Q==
                                                                                 Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 5 of 40



                                                                                                                                                                                                                                      Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: TIANHONGYAN Lightweight Cute Fun Smiley Face Resin Earrings Gothic Exaggerated Irregular Transparent Acrylic Dangle Drop Earrings For Women Girls Jewelry Gift Accessories (smiling face): Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/TIANHONGYAN-Lightweight-Exaggerated-Transparent-Accessories/dp/B09X56GM7G/ref=sr_1_245

   Collection Date
   Thu, 20 Apr 2023 05:32:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   VfVCRwCDjbDbx2Sh8jYKDaW8R59pNpxDLBm3blWbiBmXNlSV2JIO6wx5v6UEXiz/fasK+LHFiaMYxH3kNKMb8LgSKJVGaoMJYCtzEqDs3mPCtSfidcMcuQuToYqmnAhAOKgdnIw0tWt4IRqT9NLNlIxR/D43jl9Yq+AJViR0Ddk=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]TIANHONGYAN-Lightweight-Exaggerated-Transparent-Accessories[fs]dp[fs]B09X56GM7G[fs]ref=sr_1_245]]_Thu,-20-Apr-2023-05-32-04-GMT.pdf

   Hash (SHA256)
   0e7a5d6c8172037aa1ac9b1fd34710b840ebbd222b944a368819b76060dc76e2

   Signature (PKCS#1v1.5)
gqHfjSu84ZQu7YyB6DwluaJLwokVGLwbCeILNqr+eGJVcfEvuyt4Ezyb5kc8Q10TVuxIQXrp8ONmFs3RFbdMdRWch/Rt6Uk4BzN+qozsGaOvbJ0J4P03EniQjEJbJ2U7kOrNASLYbIBO9P0UKbcWOkiyOj+7GserkgRo5eDnHwg=
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 6 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 23:41:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   eLMRurXyjtJNgHtW6xsOQ5Y9Yo52WmgStLM8M7HV+Mrx4CzlTvo4mY2Y5d2+1D6ozV6FS8aLivtTUcsY+A+BVV8VDYHV9Wuy1SKd/mfZpWBbFH6XAURPcn26v/iDZyUNK8e7ztLoI5XYk4WIiNwtEuuHxCwPoa7mMUKK3V+1T0iRLnmv3T6GGzSSYBL9tsG4fSr3V/dUEqs
   +WToYKM5CaROMoUy0+BTdHdB+oRf9rP5FifE2Vn8YaZhuKvYzNC/pzHSxuIYXsPGhZ4gOlK50dIhxE778GVP35V9K8h7jgHj1fBE+d/1R5rWpYldKvFjuKrvB3IOFau0byuCQ9rO2Xw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-23-41-19-GMT.mhtml

   Hash (SHA256)
   1c0e079ea1081b858691e3efd85cd24d95f7438893b81bb8c368b1f9f67dd82c

   Signature (PKCS#1v1.5)
hsOKOf6yXkik8c4IBym2VakD9afJkdhYal8Es1us9L/CWkZHJRJiLN3zoEyxdbL1fozc0KbjByTkj3kUYPLrpVtkVEdc1vO2reEGxKrAcWVY7/6sBJQG5qMEx4aundHVfitPgX1Tmdg7Q7Hkd8+2hQ9YwpaLyHTm2wBfk+XlZtHYRfuDGDs7QZC0Xcof39v8QwGXVo8W0MfmNr1Blm/HJu4um
+jj9QBurEXSIIoiKWJI8Oyt/pQM3kQ8CXndEzGxwYf7CT42KxBC6khYchVhi76oHsBHMRwY5zXubMXb/sCmJ9+YLvuPqvHfBVq0Ldu3ZwdQ6x2alCtYC3v8t9z/4g==
                                                                               Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 7 of 40



                                                                                                                                                                                                                             Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Xiyantiji Smiley Face Necklaces Beaded Choker Necklace Boho Choker Necklaces for Women Teen Girls Silver Necklace Beads Summer Beach Necklace Handmade Adjustable Chain Necklace: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Xiyantiji-Necklaces-Necklace-Handmade-Adjustable/dp/B0B4W3KFQ2/ref=sr_1_105

   Collection Date
   Mon, 24 Apr 2023 05:29:19 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NEtGH3ruBfglPfmIMIGGpmStE+tgTRNYJ8Hw0xmPttAOv4hXoK+nPmK91eJTQRE1zCz7fLwlaH15oE7rUyWxlfc6uqm//izF7Ukyod8faaDeD1gPIdg9LmSBDy18KlLpUPyrNUHLx5A0Y6KsuPAj/MOk+ipsM+gPDpDtT+rs0GI=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Xiyantiji-Necklaces-Necklace-Handmade-Adjustable[fs]dp[fs]B0B4W3KFQ2[fs]ref=sr_1_105]]_Mon,-24-Apr-2023-05-29-19-GMT.pdf

   Hash (SHA256)
   da9c59b469255290863be15f73a1f8597535796fa4de3c3cdb7971799327f4c1

   Signature (PKCS#1v1.5)
RsL9kyAx8jqxCg611vUwyU7VEnOjM24WobpEZbnLx8OASd9OOK8Ket0isK1gjZ1xsFdXlrROk0vpZeRiSeKTKi1getiogqOiS0hNjQQDcW7lTq+osc6CGCvjZgiwNXQBzhQ9Y+/B/vtxZGW7iFw4cdouoRYMwrym4H4UXkTmBtQ=
                                                                                 Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 8 of 40



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 25 May 2023 01:04:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.105.188

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Vt9UdPc8H20rRqIcPv6SrVsvINU5HOwAtkOaXEdcyp59tpJqaYixSCYX+wTci+kQT+tsq+BGxT4On/tLmnHalfjaM5ZUstAE9kYHSvKbnYq1SrCpVGntHhrj0GMDtIJADPdDTWlbXbt2utZ2D6VdM9vn+WgVr7cOD+BhExyTvyUWX5iKJ
   +gTO6LCrgeZUASDGPuJDidWwUxFlEISpAoExN3QZYbp0hbKH2OUnBWufdLJLSHQztCql66U7ocvE8U5BHbtaV6YWW8PE5rQCODnZWuKUV7tlsMiTWtX9pWht4Vk8BMeFxQI+37houtUvHpFHWFvXv/4Qzzy/B0yz1resw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-25-May-2023-01-04-27-GMT.mhtml

   Hash (SHA256)
   23077bfd506e700c3b8fff5adc7cdc93df2b1c3602dc62014f7bc6ff6bb196a4

   Signature (PKCS#1v1.5)
aDff8W2qxX+YYvGmlnwRng++cDZ2DltrJf0mTGa++nF1TSGdDKD3vALbrewCPa2BFYodj4loN736r+qqhNwaOMp/GAcNjCPn7r8RJa+Okiy8Qn1LH0F4U0OaxYNb/
M0sLwuDCWzELMlqgfm3QhZLVv3iTtXzTc63YoNyVbfF7SmstVh5EhykPwjFGEYQmpFJtGNoWpJasMYNhdXVkSgt5tZpFWifRozZvYlgm8lmgvReN86k6wLD5ckc/SaQVa2QH0YXmMusZIQJbj4HBJ72N+iTHcVkA3z/sT2ImxdDGBllOwXDDnFj9/X/BuYg+AJnGKWp4eU9R0vaMPdEk89qhg==
                                                                               Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 9 of 40



                                                                                                                                                                                        Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Popcorn Food Smiley Smile Happy Face Sequin Shine Shiny Patch Sew Iron on Embroidered Applique Craft Handmade Baby Kid Girl Women Sexy Lady Hip Hop Cloths DIY Costume

   URL
   https://www.amazon.com/Popcorn-Embroidered-Applique-Handmade-Costume/dp/B0781Y6JG2/ref=sr_1_290

   Collection Date
   Wed, 26 Apr 2023 08:03:53 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   UXLrumtrzkx09janUcIjNYziNKLL6unVfG3UeEs1Hgn62tit8Y0oc6+7rCZB3n/TD2H5XZRw1sr57F2yc+5QEy5gOCuNe/Sa6C7auFj67T7ZY7Iy1sanw8FiD70h647hM0UA2a2OHcgmF5uxT4DnOLaJF26zZYclxqlKNLa0vTk=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Popcorn-Embroidered-Applique-Handmade-Costume[fs]dp[fs]B0781Y6JG2[fs]ref=sr_1_290]]_Wed,-26-Apr-2023-08-03-53-GMT.pdf

   Hash (SHA256)
   244ec0af419802e5789e8494beb91e7d942fb533345a7ab48487930c59b962e1

   Signature (PKCS#1v1.5)
m6xSwgduNVEuesg5+jFK+KLS+5vlNQvS3lHua1KEK2SiKs5CIQtZRbqq+X+j2t/PRX/MO1djx335t7Bm6EOJK+mgv+YsLPTeMjXrkctrlnbmqRwp++6HvC4QMvVoyJmPublDc1mLAGwj5YwxkDlcn4A5K5XqlfsvdXAyicKFvaQ=
                                                                                 Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 10 of 40



                                                                                                                                                                                                              Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 04:31:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PwG/ai8T8L3Owg10qlQX+bhiCZkzjpF5268rNbLOJRtgYhbdpHV6j8/SfflaTvgVgGGPCx1MBuhHMTSf/1vyPpJWI32wcxmrxa/
   xD5U0jCF5wItCTrLTs34+LJABwvVp10jJpHQvHBi7aZaXr9orXBaKExi3zsNJYN9LApI7N3YxPGoMsRQOuJclxRsiJUpWf5UxLF92yC6Q0z2EL/8gdg5udNurRY6pvYhMEutD9BGG4435we7pqngrBFx7fTyuOe4wsGZviFyfU6Yd9+JkOhZK/
   R4hsR7bZeDV3ByAPHGPMCgzteRnXBItDEcz2cfntF4LpQmWBWxvOV3hq38xIg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-04-31-30-GMT.mhtml

   Hash (SHA256)
   b19855a394b4bf3df8fdd66fee877747f4a44f947e2496cddc5307aae3701b1a

   Signature (PKCS#1v1.5)
qK1rPCumI/mPeKaUVlKFF7prr+YWWe00RnieX49KL+e4qvZUm5yOw8249KxPuK0f0s2prFbbjREuVkgNMOzPInICsVvb0VPvhXXdavSzH75/I6PnlI8A8xK0YBNnp/Zx4Wm2fglBwNW9ESHvHkywRmjvF0PRhSVKTxQ+4bKmuegLcRWF/q6ZnjKjID1ast8OEkt/cxZ5FY/
FmrSVGV9cAiNiNvl86UpxUcwVgsW5yKeZZ5vdvZlWNaw38JzFzAK89j5ekkeWbXAcBlcwuX40K+U4UnjHfRyPTISXBJxy1F5AwXSp5d1xS85U20N76omDtV9rH6kxLnyOs8cJzLaC/g==
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 11 of 40



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 10:30:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   n4CaEoqWsssU9YO3LX6hY130p+xWKO7dCxLVoX/Mvc4jeEGEp5/
   J1F3XMQdRTH51LzMQRG76q4kNSxGjP1OptnnITPq6GSX4MkbbRVTx9awZI2Vhq2u3byw3Ou/7CuyyE8SfZ4mxqKZmjkDSBEjtshqFbhndAirMtTo2K7Nts7d4en12YkiCuMYe6r3CfqRGRoMgQdMC70TYrpO2wVt2wzPlqUJlney/2COc6t/6kvJg1sxZSIiYh4ggI735pV9Gw04X46KlPJv38Oa/
   g083sIxqdSaGUR7T3gq77+GmUvmhb6QHtzdSCjRrhdWmpCAX3UrYAMbqFsI9BtZ2w5VFbA==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-10-30-21-GMT.mhtml

   Hash (SHA256)
   d02e535511b7a060441437e26ce91633994e3378066d16f6a75fb513eebef4d8

   Signature (PKCS#1v1.5)
eNiHxhyMfIU/7sBhTycua9y95dr2cgZveRJZedCstG9yvzCVRPotLkSTbPgI+wsGYSZ+y4KagzCvWCpNHDfSnTP/8KfEtQwF3173cikbhGUdESQocN+C25ychP4UEW7NUo44h70DMsF/
Gs2L18T5Rt3f1EtdQMBticAe2KaKgOaFqbBs0XWk1GxtcJiEFqSFt7W6PewzBUfdgpMuEFHf0u6zWj7rpwBleMDqaZEzKbVfQokMrDRaRGQCK7vlhSrVYNHE1U72GtctxL8/bv1lGtKJAavxOxZ6nDPzSCOgQGE1hJjdqYS0H94aei65i9xTQwFdfii7IeMds59kNeibIQ==
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 12 of 40



                                                                                                                                                                                                                               Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Tiusia [5 in 1 for iPhone 13 Case [Shockproof] [Dropproof] [Tempered Glass Screen Protector + Camera Lens Protector],Heavy Duty Protection Cute Phone Case Cover for Women,Smiley : Cell Phones & Accessories

   URL
   https://www.amazon.com/dp/B0BGHLW2SQ

   Collection Date
   Tue, 30 May 2023 07:31:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   E3T3on3bwjVwRtIZiUMldlCvAQaWROmXrbRwNT1KOzjZdM5hgYixVXOoB2RwyiDbJNk/JEtnKdUWF+u2Wy38V3osTTu/3y7IEOshUMbDWEZFtc+YZnos4e6AlfFCFLxY5/F6nrQOhfG5jzbKOQ6DpbgKmumTU
   +Ud7VeZeMZrMxf13YclkIzBwn2WrR20QontGf4dkZhvddGB6gI9IrihSWk84T3yrHPL5vB99oWipJNqFeTuFHhG3Yhy5qHI6ceCRgGodAFWTnbWZK8hYG39dXeZxsyTRtYQ7k6aTLC/nQKv1qU0JZvSlEAb+w3HdI2eIx+JlcY0m6hLYcffjmvNLg==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BGHLW2SQ]]_Tue,-30-May-2023-07-31-11-GMT.mhtml

   Hash (SHA256)
   094f399c5cab6efb2b5a7051712584433b4743c43af8efb793bee6411c6a92a7

   Signature (PKCS#1v1.5)
eRp8eJha+3Qr3sn7OORvpI/gLS6L78w1WiPSpMd4oR+n3LCtqtsE97Ey6VBzz1EGsz3Ahe5nKvbbbzqsYWSbVrAO7YZrSm1BCMhBQDBA/qgTO9lzggOywOvxinBrHAdSIysNll+PS5yaTfhzFSKdpcR9H5Rba6V/DUNFHQnml4Bzat4o7cbUlRw7Cvgi+CHcZ0NOMgpbbGZCgbImK3p7z/
UMPVaGwIwBlVmT+GbsUHWeKeauO0yWkmCer4NXEI6EgYFyKmgqXduIIuAmRtkNZ+XUQpFvTwZ573qYdHfjxAsabqvlJQxVjcTMf7ageRyT+vJal/j1i4i1FxFWyvlyxA==
                                                                               Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 13 of 40



                                                                                                                                                                                                                                     Investigator Name: Sarah Christodoulou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Here Comes The Son Baby Shower Decorations,140pcs Sun Balloons Garland Arch Kit Pastel Bohoo Latex Rainbow Balloons Smiley Sunshine Face Foil Balloons for Baby Shower 1st Birthday Party Decoration : Toys & Games

   URL
   https://www.amazon.com/Decorations-Balloons-Sunshine-Birthday-Decoration/dp/B0BN7GVG8J/ref=sr_1_83

   Collection Date
   Tue, 09 May 2023 10:25:43 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KApWV2v0cxilBnHX/2hnKVv00jAjb98pgazxDcaGoH9gmF48MjyKdvOGVz6pM5NLUR1N44+3ouOVtP/xSxQ8rk0FcX36qS52Kclkk9oUp5aRKsfJrLlMejdT8IGGGwXJUFZLQYtFlclqdALQEhs5rII1oF5ER/J55WfMSy5j0Gw=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Decorations-Balloons-Sunshine-Birthday-Decoration[fs]dp[fs]B0BN7GVG8J[fs]ref=sr_1_83]]_Tue,-09-May-2023-10-25-43-GMT.pdf

   Hash (SHA256)
   55cde73f2974872b52da0ef1bb5dc6cd4b836e8c0793c4e5b53e77d4816b44bc

   Signature (PKCS#1v1.5)
ECCJaND8J9mp+kw9dyYgBUvN+d3gnLu6XtGP7TziTz5nWnfRUfrYM9Jk2cMnOUGjMWM7mOh5ULuQeHIFJNUYxSdO4dufH9kueLUhgQwSObJGDSLwtkIheNW3k8U/IFbKmFynZ8yAkP2WfxoXhwfdtjgd+iSiv4O2vEa5SQXyEfE=
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 14 of 40



                                                                                                                                                                                          Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Place Your Order - Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 06 Jun 2023 12:39:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.103.82

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NjgzNxSbCCwXfa6DTzNsL6nMsSAcYTrt18UTd4dWW/+WvJAnmMOAE7sugEawc8YXX9B1PVmHNZ7u95r5VLw4axG4Snunr2Ai3vBYslNTZHYR45a7TDZSenreALirLKLyDkEVC326SWHlpxFdn8W5Ng/SsshFXCyje4i+
   +qiLh7HHkxC1RavsDM4XITHhFJ53OLRKSzAc0sBikSGWhkLeJ72IbcnWEuxXKAjZCcy0nK59bDXH8heddjQowy2+6BeXb8QkSYXJoXSUDyiYIHVJVhLuhGMSd1Eey1Kx9c65iI/s6RARuiFsNb8kmN7+5YW0HgqLp2TsrZBuo130HK8oWg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-06-Jun-2023-12-39-56-GMT.mhtml

   Hash (SHA256)
   c8131674b410207f85021b05d3615e59d90045dcda2870e31823afb0f69409a3

   Signature (PKCS#1v1.5)
RPbehMKF+clTWn8R4jisx8MRRuqxQJEXYwpmNkRSGU4C5lsw6ljeyYOMyb7CHtfxylJqvqx2pTqK2nEc2l+ykTJUeHYQoJcOnLIVyT9IRLFAgjYKBoUqAqIMYawnqBCYW8+1cFqwlIhmDrDlj+BvQaasuMbGheCsAYPtiTSEXP1ze//
Ba9pPSK8vuQU/3LzyJRv75vKPKorq1O40TKuRq0gP11NWs9IUiKwZzQbj5r+cduTqE0hRUNYGXT058FDgbaJCzPfyZ0upJ4mbSzV2Yu628Xg9NaTmreXY7as6xCb8XUnlUNQNoJPJev+fasdYcpDq1XjGcaLyrzELpBVEqA==
                                                                                  Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 15 of 40



                                                                                                                                                                                                                             Investigator Name: Chris Stavrou




                                                                                Evidence Collection Report
   Page Title
   Amazon.com: TOCAVE Fashion Earrings Women's 925 Sterling Silver Cute Enamel Smiley Face Cloud Earrings Girl Exquisite Jewelry Party Banquet Earrings Dainty Earrings (Size : 1 Pair Golden) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/TOCAVE-Fashion-Earrings-Sterling-Exquisite/dp/B0C1V1843L/ref=sr_1_166

   Collection Date
   Thu, 20 Apr 2023 06:16:48 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   j8w6y2iVwWaQl1uXWufB+0nGymObMkmmoQ5U3LIrxUnPxKtoi8wzCEiSwBQrjV1Kyq6wHqch1FIurPfxQIquaUmwES+FgKBVVrM/CQVeUt63lgZvGpysRhjDiKGC8Jbvrsz8SOJ8r1AnyBiL9/ARAqpzw511blGCBQ6bKbDGNzg=




                                                                                                           File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]TOCAVE-Fashion-Earrings-Sterling-Exquisite[fs]dp[fs]B0C1V1843L[fs]ref=sr_1_166]]_Thu,-20-Apr-2023-06-16-48-GMT.pdf

   Hash (SHA256)
   30249b99470119a85b4c1b09de797e7d3d8977119c7b0d6eb8ab34f1c5e2bc93

   Signature (PKCS#1v1.5)
e4FYFYsXxH2NeHAxOaZMB51K73IYXhTNbnOlBC25sPkMXknRYIDCmOOePmC1uBbuVSv0k81xoaDyOtTyN6McHw2DPyMxQLYjg5Wx0P0QFceLoLt4wWNkeiuyceZINRnkVyWm3Na+bUoDC2LnNJxMPhngOlBJKDTl1+8bAIoUowk=
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 16 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 14:05:11 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   SbYPA7V78BKXkwMtsJcN4OtRxoDl0nCqV270T8aHWsiHluivBEI2/48eGnJWrxD0q4xOH5/rTDkseRn9G1R32xJ3EZpnzmNTPcF2BLpc3L4O2eXFCJitQfEMCT33S/
   O44yabB9oT7xscv5c7wOj5TSfRlCrZrmaENFKq9zvnHLqBXQnV1Q30xDdPaoP54ffOTktuETVKNkHIX8D06Xo6yZwnpKrws2sgH6hCLbckOtEXkCrHL0fY9uT/F4WalhVuaXKohziVLvcrBexjwnyMhMmUKaar1nDbpJcAUAS/sAMPV5KuUF60cyy/qbFcTcNX/sBweFSgfSfaFPjGieNFrw==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-14-05-11-GMT.mhtml

   Hash (SHA256)
   05c2db2a1c43d6314d6e49332a72daf81fdb6ff2d281e34e1385fbaad5c340e7

   Signature (PKCS#1v1.5)
pEPulh6BbgHzm4YRZR8wgwPWyl05CXM05e+47RjvxUVPwWw3CCPMYu3fkrH5qscpD9f40/UgbO9tlbYOUkkYOKjWYi3zaaW5aF81iGW59imwvqqB5jURNtloCZbLyo2ANHs5TYzDCsg9YWE8Dd6lYJkaDdhdspVJqDWhEGMsrhmzzWJryC7uWX/tYyQVez3kncdHJJU72q8oDL9r2yU/OJ/
HnJvXZbkEDllIhuycd/3EKixkrKQvKi/mxRcJ6Qmo9TKG6ES2Xlo2xWwL4sTWOBKMSvw65MJpsVKYOMdLn09sX5yenZS5TvSeH0gJ+YfDd/MMr3OvM3AXWxAUOaEnVw==
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 17 of 40



                                                                                                                                                                                                       Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: Fashion Case for Google Pixel 7 Pro, Cute Colorful Retro Smiley Face Pattern Design Cases Full Body Protection Shockproof TPU Cover for Men & Women Cases : Cell Phones & Accessories

   URL
   https://www.amazon.com/Fashion-Colorful-Pattern-Protection-Shockproof/dp/B0BRP51WP7/ref=sr_1_49_sspa

   Collection Date
   Mon, 24 Apr 2023 08:39:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   HNYn4dieGq2W173Zb5wnufZLCSx+KVydKa4yY76+lFEqcw96/r392WsrIqa3m0bQttNGSecz3PNqqARDxRQfnLY8tfZw9uNeVfBd8NoEyJEc+zbwcggdv7Hv/Q24DCX/stSI0+f3r1EDHFQ2su+vBOh8pDj1e60poKTHqgXseHY=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Fashion-Colorful-Pattern-Protection-Shockproof[fs]dp[fs]B0BRP51WP7[fs]ref=sr_1_49_sspa]]_Mon,-24-Apr-2023-08-39-41-GMT.pdf

   Hash (SHA256)
   98e1877dffa5e26079118f1643fbdc67d96ea39be46578e7feec808707d45006

   Signature (PKCS#1v1.5)
B2m/ytj8YBYY+P584kShANBdrZHbXv5HTYvauPl3Zcv7Jff9ezRScfaXNQ5l6hvfj72tLxfyw1XgATPXvGDlKpWXG2EbjMCT0+IFnjZpGfcxDIMNZDG9mlbWIXxjH38nrN89gGUYaO3OtYpwIGEME/Ll9jbyr6ynLc0+OJDa2qk=
                                                                                 Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 18 of 40



                                                                                                                                                                                                               Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 23:38:02 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   KTjJfgPXEQXBA1Ke3wKl6ju6IAwHNklA7JQY0fIC24WuAhrlKr+fPueLNLvXPlAitGJviTiywEkIdTdqSceNS7tA+81fVJfi+yH9U294+mWPDYl1tAd6acyLEIX8PBJ/+Qq2x18dLGRIBSq/ymiclsys4Yi1HIwuT5vDbVrSQFY5Nxv6mZ3tnpPuE/
   X0h7vYYGpumexUWRY3mdKjxKnD7IOoUm6kKCSB8nxAR974nAdcmUPFHzfupOos4//OydKNgfzzj9qObMAr1OBBxNcw1aIiK5X/c+jzXaRF9SaBtWDhPx1ZY8y6JNqBvSDnW6zXdcvAkKhgjmCxNhgcckrWww==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-23-38-02-GMT.mhtml

   Hash (SHA256)
   1b9cbb8dd90f135e139c631b9e7866e51d98ed7cf6dbdc5ae6f4f6399a9df804

   Signature (PKCS#1v1.5)
IakgF9XVwdAhCbv3OXJpYYmF5QbI5GwA9CWkfOQjLe+CKh2oWfOQGHNmFD/nRFl4Mf/rd/kTYpHRLAqXx6NYnby1E1o3dt+hI4EAy3eGg/Cbz2pdnHv8Qi
+QRxyJErsJH/0kjdR9HoN9Kaz7NX3wahS1nDBj9gxEB1jwYJCK0Nw3XSaUTIOxiEBB0fqFSMdcQGxXNvcQxjLMiDWcUie1p5kA7I32kjeGxeHqKEm2jHl17Pi/dP/7QKX1zSYhYp2LFmhSdCE3CrdS8TseW6WOotKpKzlu+p0mQmX2RzSS03/kk6xOEcbmF6FTy7Qn8reFFAzrLS3wXS++9p
+budlUeA==
                                                                               Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 19 of 40



                                                                                                                                                                                                          Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: HANLINZHIYA Compatible with iPhone 14 Pro Max Trendy Case, Cute Colorful Retro Smiley Face iPhone Case Protection Shockproof TPU Cover for Men & Women Cases : Cell Phones & Accessories

   URL
   https://www.amazon.com/HANLINZHIYA-Compatible-Colorful-Protection-Shockproof/dp/B0BHN8RYQT/ref=sr_1_28_sspa

   Collection Date
   Mon, 24 Apr 2023 09:59:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cFORI8xvsvHRkJzgY9mBEBo5wdOjRgW5oIE0v/uX/scv991dMAgVQ9BbUryADXWeGZdfXfQix0m7fosWGtS5+lNjjF5JVNnLKLNH9LLQeEaqLBmPRpskI87a+KB12ePh8tcvZu1yQZeS4hp8aoMsu7p/Ocm7V5CDDQohIaODYB8=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]HANLINZHIYA-Compatible-Colorful-Protection-Shockproof[fs]dp[fs]B0BHN8RYQT[fs]ref=sr_1_28_sspa]]_Mon,-24-Apr-2023-09-59-56-GMT.pdf

   Hash (SHA256)
   d75e2854217bcb56bcf1c4a42d0ce9f630c60eed816e343afd328a643fd82c0a

   Signature (PKCS#1v1.5)
f9cqDCIuzIGGXDEmD3WfYpZVk+g9RczJyYETgL/rXGndUIVzxnoS3BDu1mvMXW9jk8TgrqSmLVXzvZtQZPoZ726qpVUBF2ooHl7qpqvRhaH14hyb3EVDHEWIeoruNogzOFzL7FgO6z2feRxUwzCbwb90z0FMpr58TRgnHxTB8xc=
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 20 of 40



                                                                                                                                                                                                          Investigator Name: Neha P




                                                                              Evidence Collection Report
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   Collection Date
   Sat, 27 May 2023 07:58:37 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   QVeIZYrp6FfCMjeVcXIRfHT+PKbbE3xNhVQKwtdfxA3jGRzg5Gji2vugHVW1+W/gLf3v09dex+zhEQnQshhiBQCkJwNtyyKuMyGrjTbinJhBzSuhvUqqlB3J8DPhYSNifNr32g8wneItbiNohdXs3P5wx7U+DyeeQmpRKaGqn4ASJnHfBX+r7iFST/9Kx5EW4w3z
   +qgTGQu2ofMnBXIBW9hQesRrJldibVn3+bqYTYkYhWJ+lH43FmXRJ/UbVnMUlNBRGAgbCBNMfOFPGuEerf+vsGlf4aQFCIyO7Qh/GM0DSC3icuEu9b2MN7+YrYUQdeAaMzb7NU86AcFUznL3PA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-27-May-2023-07-58-37-GMT.mhtml

   Hash (SHA256)
   781a615dcd585d5d87741ae575f5289f365fd7bc50cb816ac9d5db1ef4a0d279

   Signature (PKCS#1v1.5)
OgPmTkLO9RwNNxnKPmdKsB8DN5n0F0D35Ab2Lfz+mRjEZHwKw6J7IwiDN5Da9bS22gGgL7O3QYHmzVEMN8LXrjv8zqGveInwA1sUbmES3s9HpO1gBftUoiSqj0Q7vxrJUyxQx8mJs7pWE/FnTM+Tasug/cGxgWYWHv
+kymQDiCvtVHwDTO2NBSJMAovjKjAnNbEZtx8gfmNQOtMHMmypmDVa8BsQrKY5UYtYca9SXDNCi3JFo6vQdjoThSl3ucRV6MIZcvbvzAE4OtSHKwY2QEx43nOFeMs/HYqYO9YwaJE/dStnjIDf4ZzjI0zKSNQ2iP9fkCv5zKbUyvcLQVqs4Q==
                                                                                 Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 21 of 40



                                                                                                                                                                                     Investigator Name: Chris Stavrou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com : Cow Prints Smiley face Retractable Badge Reel Nurse ID Badge Holder with Alligator Clip,24 inch Nylon Cord,Decorative Name Badge Holder : Office Products

   URL
   https://www.amazon.com/Prints-Retractable-Reel%EF%BC%8CNurse-Alligator-Decorative/dp/B0BHW2F11T/ref=sr_1_71

   Collection Date
   Wed, 26 Apr 2023 08:18:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   fAxwlh0E8U+bYOCwbVzms5LvW1803qaUKJP+UU/o857JjGwTUQycv6WyUjbxG2l/vLQHXk1xzybiARdyCnQunxy8pUHeMxQgZRaENXpvuHp+Ye+5viyVKars4PUFpPVWxYuNlwB7rvRLunt1/5eOewL2ZCaGC+Dnhs9YL0Mt2k8=




                                                                                                         File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Prints-Retractable-Reel%EF%BC%8CNurse-Alligator-Decorative[fs]dp[fs]B0BHW2F11T[fs]ref=sr_1_71]]_Wed,-26-Apr-2023-08-18-05-GMT.pdf

   Hash (SHA256)
   0c1e98d28a146378dc09d452592bbd9acc3ee6243f7f23831605567cbafad4c2

   Signature (PKCS#1v1.5)
KV3vqeuG/ygyzibXZcgaaapM6Lc1k+nQd6kXeWsjQG4HnteYpiHTOKOxBYHQthTJE6+I1aJr+Vp1p0Vp4hHJc4D3UdM1g+Zsp9Fi7aKcWRXBNkWqIIrwsf6UFfmpeESwNTKyyh8ZS/afPEXzu+26iUJnSJgqu+h+uIZeC+BghZI=
                                                                                 Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 22 of 40



                                                                                                                                                                                                                Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 02 Jun 2023 09:33:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/114.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iOYaQCHkl76kMBy8vCQ4USeU5dAPrulgBtJpXBfgXH6KfRzHVzgKmZKF/Biz39KlwOCiW71B8gx26NQWPxU+qEx8CDM/ZYw/SSFzbSc6EFlY1J7sFFygBD7Gsqr60S6yS8tqjR5a32+SUpZhRjZZClcM/OnYw3LlQ8i5ZxM22wQ6h2OCjECUmK0YHivflBpE/Cpa31F9akzvu//
   UqIraChjL5wgmezbtv+ua0vkbrFJcX8/IdvzDsA8W/BXPAw60tyUWIyvKKEWhAa7EwXgQV1jYrdL2voZiHljnRU2dtjO8/SaVR5VenORiavZa9yIxtivtjBFGDIRtR1jNwx+SgQ==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-02-Jun-2023-09-33-22-GMT.mhtml

   Hash (SHA256)
   623c53a984a02851014e11b7854fb7bfe19b1019e53ef43b661aeb3ca3d15420

   Signature (PKCS#1v1.5)
MwsC0L3/Ur7MrzdpZrXDNJq1RvByb4i1Jv54XqFT4AV6AkRjAY2IGNN7VoM+G1CEp6Wb2F3C/2QTyy55YNKA07Tip6lPyiZSDEZ6SaQGYo+FEl4f7I/Im68nYT00xKRtC4hWedMu/EXzRdFKnuSi3DIHX0AGM/EupWRwOR3G7H07LpdWhpPDCIl+bPcSOHcZF1ldoaWCzwMSbiAQeZm
+2tf2+Vj5YfrsecU1vUVcf6xOH6jkPS5s8bKdPZSMwjSq8npciBnUbdiDGCfWO9gjPhWD+wted0FA/OSIpyoqc9E1R7jkt3ZSruYEqi9zMkRu9UqTGinK59imXEhGQRZ+FQ==
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 23 of 40



                                                                                                                                                                                                                                     Investigator Name: Sarah Christodoulou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: TOPDesign Cute Smiley Face Tote for Women, Aesthetic Canvas Bag for Beach Vacation Travel Weekend Getaway Holiday Short Trip, Personalized Gifts for Friend Her, Ideal Birthday Present : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/dp/B09PYTMZJC

   Collection Date
   Fri, 05 May 2023 09:59:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   cqapX2bQcfqJD/4VCyvTN8dd/gE0RhyIQZsuT/ELzw4CLWHnh+AtRg0yf1Y0QtYSrRAPPZGutYNrbxB9cp02Sh3wdMFkU4c7Moh96DjSDa575hCo/A5eI7uRnAEICZLwoy7a1GfNt
   +QQd8nE3NIedlrnvhTPESFPtswLmUcWbxoDhizod0XD8mtPqgsf8ioveLDqsvPlS3jCAKRyQQxqhIloKs7ydM6sJ5dmZRQt5yxxep5PD8RI8KcoP2M/1xfCF1rPTjr5OJ5+O/MLit9EYPAFriLmk5AYhvtkQI0xjUriGksmIEaj8nluyOH7ZldX2TnRslAmdMCscQQOwHKA0g==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B09PYTMZJC]]_Fri,-05-May-2023-09-59-56-GMT.mhtml

   Hash (SHA256)
   77c35eb8094f917c744d35f6748a68e0b3b767d2f14eb2451e10b174d6f16d41

   Signature (PKCS#1v1.5)
I5YfJCf6S4Ien2QOV5Uss0Ynnff2pwdBiVpx5yw3Q8VFdPfjwoxGZMv2uWNXXxfodtZif9C4O4tZ3pTu1HoahFdZMwsNbW6bDQvhQ3NOiPjogGwXVoPxWZdftrT3SWokU4w06+9vNBZpJPrw5jNirazdT1s4WqtA+swGP34kqt2M5eLS+szYNl0TuQA2yHvfjtAnhxDLkavU5ypwFphepqlDEBT/
sFV1PPJOJdg3ljGOlnvht+95dBFLsl7nyamzpT3HINeTjOTJjhPpIsknTIIiFilDlSRC6yBB28expu5HAwU6vYDVAEupSFLgBGRWz6Wx6sBHwQTbleICHGngbA==
                                                                                 Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 24 of 40



                                                                                                                                                                                                                Investigator Name: Sian Kelly




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   Collection Date
   Fri, 05 May 2023 07:45:05 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address

   Browser Information

   Digital Signature (SHA256 / PKCS#1v1.5)
   njfnwLNIkVyDa3tXlSg8o92QLLHLWLkDmzvUbL1lts4E44guLa51PwXvxTcLFKoRCcy4U61wbwVcxtSpCQCeXAUeSjF3SEAgF8MQG0NXb90ouWBm7Yr9Elics7vMwGYnBKDMgPe6vfbx21pX8FtLYaTGIyljrKBt6cVTYyYo+lgRZEY4I1P9rHAlMoL9yQmyeTq4DUb7V
   +pbtrUsToRqHBXdu5EaojwLcGn1eL6agy+lzzP0VH0iIQY/YQFlQVWwfOTJHF2ivj1A9GrWyX+3K4ChEtYg4bgAz0tRqRTkYgzG4v1it27ih/v1klSLalv+4Lx5DHUzUOM+uX3Zm42f3A==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-05-May-2023-07-45-05-GMT.mhtml

   Hash (SHA256)
   153849f575251a2ec704bf366011f142e59b59b28d546036c072b2113ce4db73

   Signature (PKCS#1v1.5)
qT0UsNMSU0pylnEfYfcqcZviq9PsxgUmddQCTDrcfBnZ0+4SLmVHyY5X5w88lpjriAfvmselH29EwhHNpsUwqDMoHgS0flKyu3ZnwJOYHqYP/HTiHz0D5fcPppgNzbQhjfqmezw3MI1YC4KcIcGkJTG7NqJBSP2P/4pTDFEFHUV7NYql6qBvDZrwc/26QIxZ9poYqVrjVIbEPdzDf6F1Uj0tG/L
+tnVOPEfkVxerzurdB5teKo51r5COdY18kHtECtWso72/ge5LdwmKm31k8wQrG1cFwbrFSDK1aB7kl+ABhqOinT5sfSnMc0C2LUiIMin9X5IyJTcoV5kUOAoWgw==
                                                                                 Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 25 of 40



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   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 20 Apr 2023 11:06:27 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sian Kelly

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   WyeMt0H+rI94oDpIYIwP7zeyZxANjaHYiFGqij9y3SjEcIiZpk8zjNO8/PRueJ9xvM+vqh32rEgY3DykX1z8tK/IlC6qrsi6KWmhCsuY9fEKQlCQAA5xoBektsse591ljX+Xx3p1AAMGKhTrO8o6ngMR3jGVtucx/
   Sp58diMob3AmwWahlpExjkdP3rXXuGjWD7f41vBFKKy9R1nzmUHy4b07lbYocUmvdJKRKNF1CspPzbCRLllf+t3mlOLsjXiV3ImmPd52m4n5ejig03N0iJqbLCwdxXXA/O99HZAbIZd7L90edgHt6oqiWuDT47ryHbPLQDXMJBMHnLV06J60A==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-20-Apr-2023-11-06-27-GMT.mhtml

   Hash (SHA256)
   ccbefad341d069b249b07533c198957016c40a87eabb1c17e344d79b8c761b59

   Signature (PKCS#1v1.5)
Xvm8vOKLU7ImUWxgZXXa2XAunO4DUJZ9UqxqhBjeczVVkw+a4q5KjBizkqte7B8DEnPYIduqfV0ZQPGlujpKXbqCUN2uUhbHlnguc45VQxRs/XOUpLVXvibqVqn2fyL7FbQ/vIt1rIDKV6b4UC/JKkPO/
RnzxtJ4s1oL7ysE7aF8+u5896HkF6+bsaak6x14CDVF5RLJnjcR6IElc0qW39dzVUfThqvL7ZK1ZhFMX+xCFKMVBFG/q0wJH1V1cez2HxQhyGtKdxWoKbF6rX4iZHwwwoLn33I2Trhw6RqlqUYMyGkGurUVeRd/d+T5P5Xap5ErIpS2KSIXeIoJS5BVxA==
                                                                                 Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 26 of 40



                                                                                                                                                                                                                                    Investigator Name: Sarah Christodoulou




                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 50Pcs Smiley Stickers for Kids Water Bottle Laptop Skateboard Car Bicycle Luggage Guitar Cup Notebook Art Decoration Patches Gifts Waterproof Vinyl Cartoon Awards Sticker Gifts Colorful Smile Face : Electronics

   URL
   https://www.amazon.com/dp/B0BMPDY9WP

   Collection Date
   Fri, 28 Apr 2023 08:03:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Sarah Christodoulou

   IP Address
   2a0d:5600:8:93::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/112.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   iyP/k+nbnXFx88tveU/nv9jj0zItJMfW8TT4b3YZt9y5wnbhLaPMCXEjTubZT2Rfjj434aPRbPLFWffzUADbTiL3SFMqFulBqQUF4se3Mnx32OB3ceYuLjEyG85cyHivKlAdcpna5Am9mZ03yZFtylb8ZJ7YLC4t7kyWr+smNal2w+oSTJ66qOZZ/
   hKVQgFmBOa5PAdNUfxQsIwUB48Bscuyp6ObYuKaV/u67Z0e/+Qt0qiaJks/2iodUPU/pohyfPa5wMw1D9QDsT/8PDyGPJtUAOHKaf4P6jsjdrXkdH2uJk4ZGgTLg0p7i8/wfnoGxU1M/LJjMEEmGVV3VVzZDw==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]dp[fs]B0BMPDY9WP]]_Fri,-28-Apr-2023-08-03-26-GMT.mhtml

   Hash (SHA256)
   0bfe926bc7f4cd92eb0d8954f152e3e5f6553e117d5a19a1e66045ca0a6d6dfc

   Signature (PKCS#1v1.5)
HUDu2HyL4+kPG+F+O2OP5XH0jOEg7jJ76OUIpCLgr2OVmMzJCHKMNJG7luBhZ1ZBp253CH0qGhS+fajn8RJjOH3QIr0P9OFcJgsYs+13tw+EIP5BDEpeXJSZ2ftINRmIkpB0v+kkPbd
+ln056Zt33idU4ccrFANIFNUAWatXHSnrE6gAQ7Mn7mxEYHyr0XGIl8WlkcyKD5M5g85CYf2M3oYRz7nFLryNn5G1Q20juSDJGKzUgGwKXAcsGWjl65KujnVRCmx7iZsGJwdT8G7+kq59L9yI8GHTrXARnI3Gi/Ay3jUvHkI5Jj3e0CQbfDZQsW6Czf13xoekc4kWfmWlMw==
                                                                               Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 27 of 40



                                                                                                                                                                                                    Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: Toword Compatible with iPhone SE 2020/7/8 Case 4.7 Inch Liquid Smiley Sage Green Funny TPU Bumper Soft Cover Shockproof Protective Slim Fit Phone Case : Cell Phones & Accessories

   URL
   https://www.amazon.com/Toword-Compatible-iPhone-Shockproof-Protective/dp/B09M3XQ1Y7/ref=sr_1_61

   Collection Date
   Mon, 24 Apr 2023 08:40:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   k3A1C3dSD78GwrXlTCzWoV8SKM74vK0BpQf1+7rorzl50ELE+/OpXtYPaotXBLxSKs/SDNwH8/j+SLyvGTaPnFP+zp7IAXmZTcW9IxOJNT8+yvtOUf0Uo3u0E/Y9hHho/s2DZohp9MaaWMBSgww0/1DhNzOS1uOAYmyhJEljHwc=




                                                                                                       File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Toword-Compatible-iPhone-Shockproof-Protective[fs]dp[fs]B09M3XQ1Y7[fs]ref=sr_1_61]]_Mon,-24-Apr-2023-08-40-49-GMT.pdf

   Hash (SHA256)
   39bba77aa81d21cf4dec98ca714c644ef49d22e027c49ee0beb81c1a0a1a2521

   Signature (PKCS#1v1.5)
K+ZqcMdcqUz70hlFQEh5pacZ1B5kra30DMhyb78H5nOV3vNpthL2PojUKqnqPDbMLeiogZRHMkXG/eKU4snVYxLlPz6kD08pHXY2KCw1qbjp4pbW0V0O5Algc/C2Yg02bbzbp3sAB+wU9InvZMid0iTZTGWOpORxyuF1QAFkHfc=
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 28 of 40



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Sat, 27 May 2023 00:17:26 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0d:5600:8:36::5

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   nhQc0WUka7CXK0q0+DxiL8gLbkk5K+WZSR4neY6OzNVoLcYuUDShT3cIkM1d4EXH7KYZM/5Tf4LiuD8EF4nLbY040g41U/tN7CWa0r6PjdJ9zrUlKSRsZLblSQp5TIpXWKivysHj4NBckS0MtSibbcnwLUGhvwiNIjufRt7A+df1n82Di3u86v+KptOZND38TtQyMB/
   cSXNFWxDzjXkne3ETIK2oKCKHxLJZ6xNokZJZ9Kz9/uD+VmKmkCNnjXR7RHybbahSWLaLtO1rv2GTdY5jIWU4AtvItCeT5G581iwY8x129rEnqn+48vs2uA8pjK7hZ5b+hWP5Srmvl78RLg==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Sat,-27-May-2023-00-17-26-GMT.mhtml

   Hash (SHA256)
   527d5241690f2050d5bb11439befb121f793319432fd5958604d065bddc6ffb2

   Signature (PKCS#1v1.5)
BnBezc3f4CABXrlZ9jBhxEsZkxhm/ASvq38XZvwXehNvzZjZh6P3gXVA8ts9Eqtk/
Ab6B0V6L5lNBiXhkYcz393waf9OT4U1hyWKvzU0l583vdnqH1OSWA210OHsneYUvL7fGJ7c1SDxdlIgB2pdrgQn7jWJ7B3d113cRLOUOTaifJAkL44yKjIBckdbUcu0G7ZVr8xsa2nJjIZSSKfupnaI2lTiSpI6LANpcy5CnZtn0nqSm/qCydo
+9YSjJxnaowbYdo2mZe3MqOm873dm4q0QZOfWuT9ponBq6IVlVs52VM2cSrFjnvhTbeBel9h/5RA3FfRVAtCY3MNS/uOw7g==
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                                                                               Evidence Collection Report
   Page Title
   Amazon.com: 2023 New Cute Pearls Rainbow Beaded Smiley Face Necklace for Women Girl Clavicle Chain Choker Fashion Jewelry Gift Party Collier : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/Rainbow-Necklace-Clavicle-Fashion-Jewelry/dp/B0C1VDH6NF/ref=sr_1_157

   Collection Date
   Thu, 20 Apr 2023 06:15:20 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   PKN/Iw6vj+d1zS4wAH8mTcNAp+vQMFC3uGcb4vJ6pRzltRt/7SbDK8KOPMlfyBI3M6Kt9Csb964Lm+OPs/FxViCe/u5y+cdxMhDDVLtfSWSP4I1IUrdS7LXTkEESfhA3I1LNqySxnvMI6cf+V8hFk3evng9IOq0R2RnvwW0YRVE=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Rainbow-Necklace-Clavicle-Fashion-Jewelry[fs]dp[fs]B0C1VDH6NF[fs]ref=sr_1_157]]_Thu,-20-Apr-2023-06-15-20-GMT.pdf

   Hash (SHA256)
   708f0327967231307556f9e12464e2babcb0a6fc2df1c175b8b4c0da14e79e9e

   Signature (PKCS#1v1.5)
VJ3T/k3N4m5LUuh+6ehQdRtqd1s+qjVu5a8KZyHtrlEqgvw9EsQjTSkP4F97CN8QiF5yBEXGnba4pyclLyO1yuwNFFGxkfc2qxo30CdqzxKjgAZrZzBIl4yk7lkjp+HTQtq+/Idrcy7SB0W1STo79fb9v1a6U/dMFrnqmP/zWks=
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 30 of 40



                                                                                                                                                                                                                 Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
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   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Thu, 18 May 2023 11:12:04 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   hNKSnhy2sRqTGg56cXS5AyymGnlwnKzn/UxNYBZR390f7rEQna5WlQOYQSGyWVKRruFkPfxO1xE37BtlMXNDREPoSRZRusjVDN3xmUZq1FRl7aLfk/BZq6nkIUWXAtN+gpkQ51rRHtZ3uC9FJadQmKgNrfK77+hC/auZFlPfvlKuCtxwhy3Zj9CwNdRWTIVskRjDL/
   WCFstHFVeEwVH14vQYiK7MutMHfkRZ6yAM5s295mxHdMXj5dJr0CZK++GbKqZJ7OWuMzbxt8OxP44zU7nN0b3Ads9P0p0sMd+q+etMJYYYqvWxZyNv0g0RZAP3ohauoWzE03tGFBfZn6vZew==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Thu,-18-May-2023-11-12-04-GMT.mhtml

   Hash (SHA256)
   6f6043900b3327fa69906301d27e2d47ed5038285bef4c7399898dc208143546

   Signature (PKCS#1v1.5)
Uun2lFPWlw5I8zKZWAG9oBaFTYgueLaBgTZZnS78naLi1o4OtK8ERWZg5eIDW6pskyo1w1vYdlz9uvu7aVqjtichcSXo3cOns5V32kQH25QYHFVJ+uQQn220GmM6PdslKlWnniUD6CzIcNdrwEbz2qxT7IotpyKfUmpQLOjLw7NmVTeU6lF7CmfZlMQfG+OXhVeilsYPKk9qHTBZ2qGDDTggEPSfile2Y
+mlmkga5JHQ3HyOwGILEt0uvtQ3h73NAWOtMY3VIyCPoJF1b8c3lN+X9BhowmHaNxTHhnU3b8itrrwUgchaimxZtl2fPGCV+5po9SIpYGJ98QPEXK6//w==
                                                                               Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 31 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: 5 Pairs Womens Cotton Smiley Socks Embroidery Cartoon Cute Solid Breathable Socks Happy Casual Smile Funny Socks : Sports & Outdoors

   URL
   https://www.amazon.com/Womens-Cotton-Embroidery-Cartoon-Breathable/dp/B0BJKLGMNK/ref=sr_1_60

   Collection Date
   Fri, 21 Apr 2023 08:20:22 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   lt59W/lBlR7pvScOaQyFc6GtE8w4PVS0H7DmzUtk8HsGKtBLMuJVGUxMud/+H59o48TO62g2FYWxtmVER/+cXQ9Jv7mnIQxq654GGEKt/2v5ccqKIf9klhxHGGiAZioZZSooY5iNPRGu+6PnTLBOa2ajtYM1h+KxvmIXJkmPcN4=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]Womens-Cotton-Embroidery-Cartoon-Breathable[fs]dp[fs]B0BJKLGMNK[fs]ref=sr_1_60]]_Fri,-21-Apr-2023-08-20-22-GMT.pdf

   Hash (SHA256)
   a6d6cad23c5192edc1325e3cce951dab079e8aec579098962e9f7659751126c9

   Signature (PKCS#1v1.5)
izY2jbN0gMbtFOckdhzjmyuv7B4QUQd/y0wCX7YW171X4qBlXCCUGPDiQreZyJONQ7DFq8D+4CZ5XJN/UlRBIpHU7APEGF5LpaKxf/GEXzp98VvNFeNO6vOU+o/91mskHX7Hrj0Whw13C+11QO+k2Za3UTDmOnRj+k38BuoaG4I=
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 32 of 40



                                                                                                                                                                                                                  Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Tue, 23 May 2023 06:46:56 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   202.83.40.91

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   pDSpWhe90yUZMaYZx2XCxh/xQdkhNAnEZ04LQPCuJ4m5Cx8ha+t+CEC9kOjQVmFOTcu03W2ZotOx3JDuglakV00psS72K21zikeJz/Y8yjy01zmsuJbFWyz+3ljMKE7RWFYKYu9EIXvjw3SVKzszqkSKas2V/cRA6ONE3b9KkOOg8efvor1B6E23Pm4mzmPlBOyko11sFdGmPqf8DH
   +ZDAEghP3tWZsdZ6+J188CVyP8SQ+i1QMaZjDVEd+jIKbAz3xCEpFj5oU0UBc69JwNmCtqsyXIdBH+TUaIs+suIq/LSTxmaLGodJWJJ63HfHo6qVANDY2rlKiPiPKlJNfniA==




                                                                                                        File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Tue,-23-May-2023-06-46-56-GMT.mhtml

   Hash (SHA256)
   e71d8023ec8f4ccd5f0434facbc9b45e9aac62c62c61fe46fcbf5ba27c83f3ca

   Signature (PKCS#1v1.5)
bzRY6N0Lg2f9erbLH+3dVgU0aMDeKxJ7r2akUmqljmb1tlCIRTyzbt7XKc3BT4BTC483ty6wX3GF1oS8Ct3wNiBmyJrKrPyxVrdkdYg4TLHwuCqr4nVGwlVIRm9aPqsIk1mA9oVensf5eeTSe560RpAsnZud7aqDvMneGw1G5QO9duu3QUfd6KJjSiMzqv6tjeoHdKo2q1ka78B6q5hS57D/
tFDUKBdeV69or59RjEUlN5AKjMjrHnoCELkdctHCvgUhueZnCQfFLmx2Is5eNdAHxKOWh/kGnWx+gCatjYHe96Fr1wQ//OlAjhWOFg+Gz+KapDHG7zM8d9wGStf9rw==
                                                                               Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 33 of 40



                                                                                                                                                                                                                    Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: MGQILING Cute Smile Face Phone Case Compatible with iPhone 14 Camera Protection Shockproof Fashion Soft TPU Clear Happy Smiley Cover Case for Women Girls Men Colorful : Cell Phones & Accessories

   URL
   https://www.amazon.com/MGQILING-Compatible-Protection-Shockproof-Colorful/dp/B0BBR8LKFN/ref=sr_1_40

   Collection Date
   Mon, 24 Apr 2023 10:02:49 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Hslv0ZXj5MLqyxY1d4MYI5dCXxV60TBut1wcZsBiozN1fUfiUMTJvllhXKAwo79GgRgUpXLkpcA31iKxUcOCYpXu34Rs//MtDYzoGDuINZUtpxL+v8ns6dhb4JusFvmWddFtm7BjogWD19JNXZGvibcFxa1OCTGBJJe6u00HURw=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]MGQILING-Compatible-Protection-Shockproof-Colorful[fs]dp[fs]B0BBR8LKFN[fs]ref=sr_1_40]]_Mon,-24-Apr-2023-10-02-49-GMT.pdf

   Hash (SHA256)
   aefe26561c2827fe68712ca9d710d0c41bd2303eb606f31fd97f73c3875c2081

   Signature (PKCS#1v1.5)
By/sNeAV9OQwmXzRQQaGAcmW0nlJDp4vpQns0DzCeamPOH0hQrVLBJH+Kd4UDpt3mznBAKumLkLwSNPchKfYucjB+6+4T7tOkEtduIvARASmiljbFHCK/WQpZc+Io1r3jrW86bGvdH0hBS1qWEFHHgxqONUqbNgQ09jqpQ5C0dg=
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 34 of 40



                                                                                                                                                                                                             Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 29 May 2023 07:49:47 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   116.68.102.163

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   GvOaRrjlRfrkgkjWbtK8m1DnsabwMrAamGsTZABqcFcUuwS8YFYH6uSis/NQ78QzzGwef9idnc2HVQSlKc6ktpCCMFZxN5/D3+yOntGFWJdbnK6cSiGWpbkjS11t1TPnMFdf3EOnHYBq4fAoXP4r1nyn4exQL8F0q
   +kXl1QiQPivoUoGJYoMmf6iRrSLqtjX3LwAQbf9pPXUuuUIB0REJdGN8JRCgytAFTdnEYQh1Uzx7fV6ZZpZbNvjFJrP0aTzlgrNyX0GL/0VIe+NrpP8s5QF4nHDiTGlkP5H3eZDzC9CBFmLRrrs+qJUzyIuMKBKXBAz1+hz/WI57QLv5q3C9g==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-29-May-2023-07-49-47-GMT.mhtml

   Hash (SHA256)
   59fa197dae0765d9bc1a505f7b770776c672506ed484bd6fd4fb74f29097d245

   Signature (PKCS#1v1.5)
ZCk81Hq9t8VKM9bHJh8PRCyZ4TsKUot2SywlINlpCwv8mKgBD3MqnuY/qyjhkc+JCevvhRTvyMHcO7vtNIje5eX+O2aLTxhhalOkXHHN+X7PToODc0r1VeLlL5qsx0JsvkMGaM4mnW6yiB6Yy73tSDVc5MMXVmXRRsepQNX1Y2tWBG7bFSVMDkN310utQrjY8kjrud0qwbW4neEHP2rws/
CEIx56r7pZqi32EGoOH/PLkKxG6jKQlsad6PG1+Zsjt9qKLNVN6Flz1SxE6UimV0ZoZmHcnvf8swWfEeF/XNdW2yPTEUMAyM3n5zomAjaMSVzu38s6WAeM+igfjTq4MQ==
                                                                               Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 35 of 40



                                                                                                                                                                                               Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: TseanYi Boho Rainbow Seed Bead Choker Necklace Short Colored Rice Beads Necklace Chain Smiley Face Collarbone Necklace Jewelry for Women and Girls: Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/TseanYi-Rainbow-Necklace-Colored-Collarbone/dp/B08HRLL1VY/ref=sr_1_240

   Collection Date
   Thu, 20 Apr 2023 05:30:59 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   kWff+yfo8E/PUzVFAr0+ruKLzAqLXwT/u/1z7QhmEl9lqWHt0GkgNH9/RWuTZRGWe1DXAhXwOkd40I7m93Oe/O6fKI2dS3i5BxxdmlJmVsUFRft2ocR0OgilnJ98HhCgSerNnTaG8GEvrppHpKZoOyk5/HpyDPAuI42UVoVPUns=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]TseanYi-Rainbow-Necklace-Colored-Collarbone[fs]dp[fs]B08HRLL1VY[fs]ref=sr_1_240]]_Thu,-20-Apr-2023-05-30-59-GMT.pdf

   Hash (SHA256)
   a37972500c34bda4cbe0a8478de39f9c76481d362528db86639740adfc51771b

   Signature (PKCS#1v1.5)
LxQD+uN5ypRwBvlgpwrL1ZrOlFIhZJqj338RnLcrXLg1bNwxVrY/Hs4t4JcNfL/zEp0zCDGFK6md3Bcp8bTOe+/6P8mbry1v8cmhkZ8xI3lYLrmR8OCz3+z+JZ0ShodWqujGF/hlywBv7okkzHj//CpF3A9OywbUCjHWtn8iIz8=
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 36 of 40



                                                                                                                                                                                            Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Wed, 17 May 2023 17:31:21 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   XTtXZwSbzUO2Bpw5/5I2MkFbEteFkqOew/L4I37LN5cejHmrYGYhBCPs5A2Fvi+FctAzaQa5meOYXL3Fqxa6U01s/IrwoUaXEovDqg/AsoefmbwQ1VKaa5BQFkgZRWZSN26J23TD+EdfliZjSqWrEx/HYg+3EjaXCXgvWTV0r/
   VeBqQsXZcTWrVQwcRiiBfa0Ho4Iir6scRkiVMurwXttm3tkSz56KldUCXW3BHq6UKz3LAxDie/+jh5DEJWIp+LTeSBJmGTZG1H2lLd2RHlCBgYiyo/fR8Kq0/NORZ21SgxFaP0xaNOLVJ/+B8kRWaFzPEPh2ls5lOBsPa6GZFqMw==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Wed,-17-May-2023-17-31-21-GMT.mhtml

   Hash (SHA256)
   95d7cd5b857d5574ee8c4973c434abb45315c31837eba9094f4a3655b6dbe9fb

   Signature (PKCS#1v1.5)
No812N0qC6DSC42+xndCjIgJ6waYxBgwlDpQnWZ3AreUw1Plk6N/hqYFxbi6N3Mqo+WvVgmtTZeatME4+RVbk/lsHQz9G+U3jUjFrsr2IF0USiqraED/FGPpawUhhkE9yb8HNb4HDCNGFU/yYCM69qCm9KoybD/
c96o1W1ixzmOJKDLRmcWKIzS4l6guBvTfN42KVLKZ560ifjdIK1hjOOfWmLbtYFOnaygIThe5RdU/npT603OAdhOQn4+EZC/0WIJA8fsEvSgKNgI8xxbVJllH5o+X4v+KPa+ZWO5CJAU6iXpXEYv9FK4gmLsTsSGADcaajsm7QQh+AnPZAVY6jw==
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 37 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                              Evidence Collection Report
   Page Title
   Amazon.com: OIUYT Smiley Face Socks,Cute Cartoon Smiley Socks, Novelty Funny Socks Gifts for Women (5 Pairs spring and autumn socks) : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/OIUYT-Smiley-Cartoon-Novelty-spring/dp/B0BPHK791P/ref=sr_1_3_sspa

   Collection Date
   Fri, 21 Apr 2023 08:08:39 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   2a0a:1dc0:5::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   NVwitQjaHSFKZwclbFJ1Bi/LNUQb+zo/L6ogk3Vl9gnhpqnC28blEsFM6MwiPZ59giWymFZrHybf9joHaPSOwNzwkTDg7avvSU1PjJPmlI+/AAoAP5WchmLsMljq7u6FcfJFY3B2o2EvJQf+VpZBl3tRgT36plk9TBuoOIfQS4U=




                                                                                                        File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]OIUYT-Smiley-Cartoon-Novelty-spring[fs]dp[fs]B0BPHK791P[fs]ref=sr_1_3_sspa]]_Fri,-21-Apr-2023-08-08-39-GMT.pdf

   Hash (SHA256)
   bb154de1d7f93dc2ad5cbebe303babf944cde6181d16436a4e2b2ebd26d44819

   Signature (PKCS#1v1.5)
O9n5Doje4oolDTMrROgK1UxXHCnMOgzRPbE0dcA63tGuyw9W74BH0S3EILDLde6aCvvsekyELeH45fYmaqEXmNPHc0jZ4l4J9xj5qKAQvh04JzZga1a/LjF80iJ00RJZ1c1fPDce66sh0jFmJ4OddmgMGinpNsiiGMKEa3pfCcw=
                                                                                Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 38 of 40



                                                                                                                                                                                                                    Investigator Name: Neha P




                                                                              Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Mon, 22 May 2023 11:55:41 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   2a0a:1dc0:4::3

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   DT+E60nWYBdsqsH3kqrZgikGpqtABjhOl9FXEl
   +0JONCvS1XPzBQQbkxHWLyDjJMaDivGTdMOUw6BvJCJf8Y0PDAeI7RXHQnYK5DQHahzbHASlzCe3BFJXV4twlkB5Sq01mSMMjhuj33Mps071fwEIh7u7iBv3ntBdnlOD6atVBkVq0gW7jtauj8C4SEo6HNZxqbBoZ2TjD6hsDo1DfBeGsF5Wm6pafls55GBAykEqeVX1KDR
   +7K44apzy5Gzo4OwLA8fNJkvg4bfW5qQcVswZDDv69zBZZwZG5n4Gxshj8HoAsM2SDZBelPuCtXNT55WDwZhUjoIqZZ+Rdnzvdi0A==




                                                                                                       File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Mon,-22-May-2023-11-55-41-GMT.mhtml

   Hash (SHA256)
   19f0d58f14cb83134ae9d54063b231fe4d4491058aca234fff1aa314a363b4bd

   Signature (PKCS#1v1.5)
PQc7tIzkc2ndIXWVS3ooVMuh1nw7zXeJNrzXWE66q13zE1COoVn+tmdlXjOXfD8fX5i5XzsiarJOI0YN11jZ0hhX4AShkIQKZo/ASho3xnE5X0B3N7EEyLBNgRutNj8dMDbfARVt8zehK4rM98KDLWGDdDlg/n87L9PFLrqVWVIOB+svazn0vvi/pytmYpb9qfd85ikWE7rm+s7zzfYzZBa
+KO7Mjpz3uARLmLQ59ipL6e8zXZcmZPAswnZ7afu/OtRVEosZdQKmeDhbRb94pgbX4JpAd+1eJJ0OVVTrQUz9GoZc1lkx5gHP7F/6XaBApTuVh1e38QiRufQHWoku/Q==
                                                                               Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 39 of 40



                                                                                                                                                                                  Investigator Name: Chris Stavrou




                                                                             Evidence Collection Report
   Page Title
   Amazon.com: TTNDstore Goth Smiley Sun Moon Face Necklace For Women Girls Round Tarot Pendant Choker Necklace Vintage Jewelry Collier Femme : Clothing, Shoes & Jewelry

   URL
   https://www.amazon.com/TTNDstore-Necklace-Pendant-Vintage-Jewelry/dp/B09W6LTFRN/ref=sr_1_486

   Collection Date
   Mon, 24 Apr 2023 07:25:30 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Chris Stavrou

   IP Address
   185.230.113.27

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/111.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   R4KwjbaPfrMP/iAZq2uYk1UP4y+I2+T4QrY6vOEZN3tYKOG2gD5RnyhohA3mMk1TwZJQWqAQHXH95kRpRr0pz31HG8/6tk+jOmokim46yDENxyepxh6RDF8NbbJtyPhdsvMNvVzqauJ/h2a5S/P7Cpv+3zRiPhu9/CZYYpjdZOg=




                                                                                                      File Signatures
   SCREEN CAPTURE
   PDF
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]TTNDstore-Necklace-Pendant-Vintage-Jewelry[fs]dp[fs]B09W6LTFRN[fs]ref=sr_1_486]]_Mon,-24-Apr-2023-07-25-30-GMT.pdf

   Hash (SHA256)
   7653e1dbf7516297fe50befb40293b81c0fcf7a1a24ad02dddf33f596f95629d

   Signature (PKCS#1v1.5)
fafpYDHtU9WHfUNWepGzAJPYEtqSgziOJRJEH533i5p9KSZl90cae//VfnCQdMDcsj3a6pfW2e4sQLX8dgZ28uzA67P23IcewJqgEWjWi3RNuPwm1C9p8UH/yy1dxS+bbE8VsJe7gRKsRtw3wzyA2lFyd9Sx1USphaCx1zZHjng=
                                                                                 Case 0:23-cv-61203-AHS Document 38-6 Entered on FLSD Docket 07/27/2023 Page 40 of 40



                                                                                                                                                                                                                    Investigator Name: Neha P




                                                                               Evidence Collection Report
   Page Title
   Amazon.com Checkout

   URL
   https://www.amazon.com/gp/buy/spc/handlers/display.html

   Collection Date
   Fri, 26 May 2023 11:59:44 UTC (US Department of Commerce / NIST authenticated timestamp)

   Collected by
   Neha P

   IP Address
   111.92.76.240

   Browser Information
   Mozilla/5.0 (Windows NT 10.0; Win64; x64) AppleWebKit/537.36 (KHTML, like Gecko) Chrome/113.0.0.0 Safari/537.36

   Digital Signature (SHA256 / PKCS#1v1.5)
   Tf+fqKJ0WspC9HY8fIU1cTyLB7XG13lSEUbEHwQFXiqGGj2Ie7QWj91GZTTPcX5Nj6RBi3fLIhRqOCXUNrc+o77rrVZjUD6jgHBMhd36WUr7iw/E7WQXJLHwryIZx9WBKy+nMxHgQ9800vCvLVQ9MxzYqsbjmpeGcYjmcN2axJYjadMJJUwuD0yNSAJZ5QC3T/
   lUbSxBuQgncoWRjKufK0h5m1panKlcuRZe2HiaXKK7CMP5uM7F3dtABEJe/nyUCPTRNTppdasmmrDn68LCxqQIR95EIBaXCLbst1baBYFMlxYUmohkOaQ2QzY7reo9vm3lob7QSTTRanzq/XbVhg==




                                                                                                         File Signatures
   SCREEN CAPTURE
   MHTML
   File Name
   screencap_[[https[s][fs][fs]www.amazon.com[fs]gp[fs]buy[fs]spc[fs]handlers[fs]display.html]]_Fri,-26-May-2023-11-59-44-GMT.mhtml

   Hash (SHA256)
   1245dd5e39152ce148a53f0491d446d0b146fd5cd0a28cb47ab6fd95fad2fe29

   Signature (PKCS#1v1.5)
ZCzbfftv9yR9YnnyxEIV3VXOtlKhLdcz440QLLnYLGmbUA3So8lIlSrn2Zq6IQssiyDlSvryAy8STwV5P8TUy+eHQpzawEZC+hT1p78/1LPDCNrBrvP6PW+0cSNNvCJTwMCA/LiI/IXaZJlBzsBYEdZaiJHehZKjMWs9p9Wf6h+8l4ex5l6hdzFLlHK7gNrRxV9+T0Eg2PuNNPoyyo72p6l5WuKN6Z
+zkvf84NdBIrT3W+dzc3kzOTUNEoMmDfcgRXREnL4NfEQf1+I2jvj2htIjU+N7T0vN2cHm0ZF0yaR8RS4XkIzRB11NY0blvTY/0gomoWS44IQBLeRalidZXA==
